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                          EXHIBIT	  A	  
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                                                                                                 US010594823B1

  ( 12) United    States Patent
        Jakobsson et al.
                                                                             ( 10 ) Patent No.: US 10,594,823 B1
                                                                             (45 ) Date of Patent:  *Mar. 17 , 2020
  (54 ) METHOD AND APPARATUS FOR STORING                                 (58 ) Field of Classification Search
         INFORMATION IN A BROWSER STORAGE                                          ???     H04L 67/00_42; G06F 17 /30–30861; G06F
         AREA OF A CLIENT DEVICE                                                                                                16 / 95–9574
                                                                                   See application file for complete search history .
  (71 ) Applicant: RavenWhite Security, Inc. ,Menlo                      (56 )                     References Cited
                     Park , CA (US )
                                                                                          U.S. PATENT DOCUMENTS
  (72 ) Inventors: Bjorn Markus Jakobsson, Portola
                    Valley, CA (US) ; Ari Juels , Brookline,                      4,691,299 A   9/1987 Rivest
                   MA (US)                                                        6,314,492 B1 11/2001 Allen
                                                                                                     (Continued )
  (73 ) Assignee : RavenWhite Security, Inc., Menlo
                   Park , CA (US )                                                              OTHER PUBLICATIONS
  ( * ) Notice : Subject to any disclaimer, the term of this             Electronic Privacy Information Center, “ Local Shared Objects
                   patent is extended or adjusted under 35               * Flash Cookies”” , Jul. 21, 2005 , https://epic.org/privacy/cookies/
                                                                                            9

                   U.S.C. 154 (b ) by 0 days .                           flash.html, pp . 1-3 ( Year: 2005 ).*
                    This patent is subject to a terminal dis                                    ( Continued )
                     claimer.                                           Primary Examiner Clayton R Williams
  ( 21 ) Appl. No.: 15 /706,556                                         (74 ) Attorney, Agent, or Firm — Van Pelt , Yi & James
                                                                         LLP
  ( 22 ) Filed :    Sep. 15 , 2017                                       (57)                   ABSTRACT
                                                                         Disclosed is a method and apparatus for performing steps to
                Related U.S. Application Data                            cause encoded information to be stored at a client device
                                                                        during a firstnetwork session between a server and the client
  (63)   Continuation of application No. 14 /560,906 , filed on         device . To cause encoded information to be stored at a client
         Dec. 4 , 2014 , which is a continuation of application         device , the server first determines a set of network resource
                           (Continued )                                 requests that encode the information . These network
                                                                        resource requests may include requests for one or more
  (51 ) Int. Cl.                                                        specific URLs and /or requests for one or more files. The
         H04L 29/08              ( 2006.01)                             server then causes the client device to initiate the network
         H04L 29/06              ( 2006.01 )                            resource requests . The server may cause this initiation by,
                           (Continued )                                 for example , redirecting the client device to the network
  (52 ) U.S. CI.                                                        resources. The client device initiating the network resource
         CPC         H04L 67/2842 ( 2013.01 ); G06F 16/9566             requests causes data representative of the network resource
                   ( 2019.01 ); G06F 16/9574 ( 2019.01) ; H04L          requests to be stored at the client device .
                       67/02 ( 2013.01) ; H04L 67/42 (2013.01)                        10 Claims, 4 Drawing Sheets
                                               ESTABLISH A FIRST NETWORK SESSION WITH

                                                     ASSOCIATE INFORMATION WITH


                                               DETERMINE A SET OF NOIWORK RESOURCE


                                               NETWORK RESOURCE REQUESTS , RESULTING




                                                *READ " DATA STORED AT CUENT DEVICE
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                   Related U.S. Application Data                           2004/0111621 A1 *   6/2004 Himberger            HO4L 63/083
                                                                                                                               713/182
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            8,930,549 ,which is a continuation of application No.          2004/0260651 A1 * 12/2004 Chan
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            8,533,350 .                                                                                                         705/50
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                                                                                                                             H04L 29/06
            1 , 2005 .                                                     2005/0240940 A1 * 10/2005 Quinet
                                                                                                                                719/315
  (51) Int. Cl.                                                            2006/0056618 Al      3/2006 Aggarwal
            GOOF 16/955             ( 2019.01)
            GOOF 16/957             ( 2019.01 )                                          OTHER PUBLICATIONS
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                                                                       Nov. 29 , 2000 , Phpbuilder, pp . 1-6 ( Year: 2000 ).*
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                                                                       Conference on Management of Data (2000 ), ACM Press , pp .
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                FIG . 14

                                       sple
                                       Na




                                                             sus ****** popuri


                   BROWSER
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                  FIG . 18


                     wwwwwwwwww




                    NEIWORK RESOURCE REQUESTS , RESULTING



                       WWW




                      *READ " DATA STORED AT CUENT DEVICE
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                    FIG . 2
                                   1

                               2
                                           208
                              cox
                          :

                       HISTORY CACHE
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                  FIG . 3

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                 FIG . 4
                                       INTERFACE
                           Irelan
                                       PROCESSOR

                                                         mos
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      METHOD AND APPARATUS FOR STORING                                  for a particular product of interest. This may increase the
       INFORMATION IN A BROWSER STORAGE                                 user's satisfaction with the Web page and , as a result, the
               AREA OF A CLIENT DEVICE                                  user may return to the e - commerce Web site at a later time
                                                            when the user wants to purchase something else .
              CROSS REFERENCE TO OTHER                         Further, the identification of a user may provide security
                                                                    5
                     APPLICATIONS                           benefits . For example , a Web page does not want to display
                                                            information associated with a particular user to another,
                                                            different user. Cookies enable the Web page to display
     This application is a continuation of co -pending U.S. specific
  patent application Ser. No. 14 /560,906 , entitled METHOD address) information    ( e.g., username, password , or home
                                                                       about a user to the user and not to other users .
  AND APPARATUS FOR STORING INFORMATION IN A 10
  BROWSER STORAGE AREA OF A CLIENT DEVICE                                 Despite the benefits associated with customizing a Web
  filed Dec. 4 , 2014 , which is incorporated herein by reference       page , cookies also present drawbacks. One drawback asso
  in its entirety for all purposes, which is a continuation of          ciated with cookies relates to privacy . Cookies are typically
                                                                        stored in a user's computer without the user's consent.
  U.S. patent application Ser. No. 13/ 964,988, entitled                Cookies are then transmitted to a Web server when the user
  METHOD AND APPARATUS FOR STORING INFOR- 15 revisits a Web site , again without the user's consent. This
  MATION IN A BROWSER STORAGE AREA OF A CLI                    lack of consent may raise concerns about a user's privacy
  ENT DEVICE filed Aug. 12 , 2013 , now U.S. Pat. No. because information about a user is being stored and trans
  8,930,549 , which is incorporated herein by reference in its mitted without the user's permission . It is also possible for
  entirety for all purposes, which is a continuation of U.S. servers to share information about a user that was obtained
  patent application Ser . No. 11/590,083 , entitled METHOD 20 from a third -party cookie . Thus, a user's personal informa
  AND APPARATUS FOR STORING INFORMATION IN A                            tion , such as a user's name, interests, address, credit card
  BROWSER STORAGE AREA OF A CLIENT DEVICE                               number, etc. may be shared between different companies
  filed Oct. 31, 20 now U.S. Pat. No. 8,533,350 , which is              without the user consenting to this information sharing .
  incorporated herein by reference in its entirety for all pur            As a result , some people block or clear cookies . Most
  poses, which claims the benefit of U.S. Provisional Appli- 25 browsers have thisspyware
                                                                Further, common   ability viaprograms
                                                                                               one ormore  software
                                                                                                      typically treatcontrols
                                                                                                                      cookies.
  cation No. 60/ 732,025 filed Nov. 1 , 2005, which is incor            as spyware and delete the cookies . Although a user's infor
  porated herein by reference in its entirety for all purposes .        mation can no longer be retrieved by a Web server after its
             BACKGROUND OF THE INVENTION                                cookies are removed or blocked , the Web server cannot then
                                                            30 provide a user with a customized Web page . Organizations,
                                                               such as e -commerce organizations, may lose business
    The present invention relates generally to client-server because
  communications and more specifically to causing a browser experiencea user    may become dissatisfied with the user's
                                                                          on the organization's Web site . Further, financial
  to store information in a browser storage area of a client            institutions such as banks may use cookies as a way to
  device .                                                              authenticate a user. If a user blocks or clears cookies, the
     A user typically uses a Web browser, such as Microsoft’s 35 bank may be forced to rely on the user's username and
  Internet Explorer, to access a Web page over the Internet. password to identify the user . Without cookies being stored
   The information needed to display the Web page via the on a user's browser, the banks lose another technique to
  browser is transmitted by a (Web ) server over the Internet. identify the user. This may result in issues when someone
      A Web page ( e.g., associated with an e -commerce Web who is not a particular user is fraudulently acting as the user
  site or a financial institution ) may request user information 40 by using the particular user's username and password .
   from the user when the user first accesses the page , such as         Therefore , there remains a need to identify a client device
  a user's name, password , address , interests, etc. When the when the user (i.e., browser) accesses a Web page that the
  user accesses the same Web page at a later time, the server user has previously visited without many of the privacy
  may use the information previously entered by the user to issues associated with cookies.
  customize the Web page for the user.                             45
                                                                              BRIEF DESCRIPTION OF THE DRAWINGS
      This customization of a Web page is typically the result of
  cookies. A cookie is a message transmitted to a browser by             FIG . 1A is a block diagram of a communication network
  a server. The message can include user-specific identifiers or
  personal information about the user. The browser typically having            a first and second server communicating with a client
  stores the message in a text file . The message ( i.e., cookie ) 50 inventionin ; accordance with an embodiment of the present
                                                                      device
  is then sent back to the server each time the browser requests         FIG . 1B is a flowchart showing the steps performed by the
  a Web page from the server.                                         first (or second ) server in accordance with an embodiment of
     For example , when Alice visits the Web site X , the server the present invention ;
  for X may transmit a cookie to Alice's computer that                   FIG . 2 shows a high level block diagram of a browser
  contains an encoding of the identifier “ Alice” . When Alice 55 storage area of the client device which may be used in an
  visits X again at a later time, her browser releases this embodiment of the invention ;
  cookie, enabling the server to identify Alice automatically .          FIG . 3 shows a tree structure thatmay be used to identify
   This may result in X addressing Alice by her name rather a client device in accordance with an embodiment of the
  than a generic " Hello " string.                                    invention ; and
      The customization of a Web page for a user often 60 FIG . 4 shows a high level block diagram of a computer
  increases a user's satisfaction with a Web page and may system which may be used in an embodiment of the inven
  decrease the timeneeded for a user to locate a particular item      tion .
  on the Web page . For example , the same e -commerce Web
  page can display different products at the top of the site for                         DETAILED DESCRIPTION
  different users . The products displayed may be based on the 65
  user's interests or past behavior. This customization may              To circumventmany of the privacy issues associated with
  shorten the time that the user needs to browse the Web page traditional cookies, one or more servers instead “write ” and
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  “ read ” a cache cookie to and from a browser storage area        device 108 include a desktop computer , a laptop , a personal
  associated with a browser requesting a Web page from the digital assistant, a smartphone, etc. The client device 108
  server(s). The browser storage area may include a history includes a browser 116 for downloading network resources
  cache and /or a Temporary Internet Files ( TIFs) area .        (e.g., Web pages or files) via the network 112 (e.g., for
     In accordance with an aspect of the present invention , a 5 displaying , executing , or storing on the client device 108 ).
  server performs steps to cause encoded information to be           The browser 116 is well known in the art , for example
  stored at a client device during a first network session          Microsoft Internet Explorer. The connection between the
  between the server and the client device. During a second          client device 108 and the server 104 may be made using any
  network session between the server and the client device , the    well known data network communication protocol, for
  server can perform steps to determine whether the encoded 10 example the well known Hyper Text Transfer Protocol
  information is stored at the client device. The server can use  (HTTP ) or HTTPS , which is a secured version of HTTP in
  this information to identify (e.g., recognize or authenticate ) which the payload is end - to - end encrypted . Both HTTP and
  a client device . The server that determines whether the        HTTPS are well known for Internet communications.
  encoded information is stored at the client device may be the      The first server 104 (also referred to below as server 104 )
  same server or a different server than the server that causes 15 is any device or devices that can serve a network resource to
  encoded information to be stored at the client device .            the client device 108 over the network 112 .
  Further, the server (s ) that perform these functions may            In accordance with an embodiment of the present inven
  include one or more servers .                                      tion, the user of the client device 108 uses its browser 116
     To cause encoded information to be stored at a client           to establish a first network session with the server 104. For
  device, the server first determines a set of network resource 20 example, the user uses browser 116 to request a Web page
  requests ( zero or more network resource requests) that           from the server 104. The server 104 establishes a first
  encode the information . These network resource requests          network session with the client device 108 in step 150. In
  may include requests for one or more specific URLs and /or one embodiment, the user provides login information ( e.g.,
  requests for one or more files. The server then causes the username and /or password) to the server 104 to establish the
   client device to initiate the network resource requests . The 25 first network session .
   servermay cause this initiation by, for example , redirecting       During this first network session , the server 104 associ
  the client device to the network resources. The client device ates information with the client device 108 in step 155. The
   initiating the network resource requests causes data repre information may alternatively be associated with the user
  sentative of the network resource requests to be stored at the using the client device 108. The information may be one or
  client device .                                                30 more string, bit sequence, number, etc. In one embodiment,
      In one embodiment, to determine the data representative the server is associating the information with the client
  of the network requests, the server transmits a sequence of        device 108 (or user ) in order to identify the client device 108
  messages, each message in the sequence causing zero or             (or user ) at a later time. The information may be generated
  more network resource requests for data . The server then in any fashion ( e.g. , chosen from a list, randomly generated ,
  determines, from the zero or more network resource requests 35 pseudo -randomly generated , etc.).
  for data , the encoded information . In one embodiment, one       The server 104 then determines, in step 160 , a set of
  ormore servers in a plurality of servers determines a portion network resource requests that encode the information .
  of the encoded information .                                   Examples of network resource requests include specific
     In another embodiment, the server causes elements asso      requests for one or more Web pages or specific requests for
  ciated with a graph structure to be stored . In one embodi- 40 one or more files ( e.g., TIFs ). The server 104 then causes the
  ment, the graph structure is a tree structure that includes        client device 108 to initiate the network resource requests in
  nodes as the elements . The nodes can be stored in the             step 165 .
  browser storage area . In one embodiment, each node corre             In one embodiment, the server 104 provides the requested
   sponds to a resource identifier (e.g., secret key ) stored at a Web page to the client device 108. For example , the server
   secret address (e.g., secret naming ).                         45 104 can transmit the instructions ( e.g., hyper text markup
      In another embodiment, a plurality of addresses are language (HTML )) that the browser 116 interprets to display
  caused to be designated in the browser storage area , where the requested Web page. As described in more detail below ,
  each of the addresses is associated with a time epoch . A first the server 104 may cause the client device 108 to initiate the
  pseudonym for a user of the client device is maintained for set of network resource requests by redirecting the browser
  each time epoch . The server can then determine whether a 50 116 to the network resources via the HTML code. The client
  second pseudonym exists at an address of the browser device 108 initiating the network resource requests causes
  storage area . If the second pseudonym exists , the server can data (e.g., URL name or TIF ) representative of the network
   identify the user and cause the first pseudonym to be stored resource requests to be stored at the client device . As
  at the address in place of the second pseudonym at the described in more detail below , this data is stored in a
  expiration of the time epoch .                                  55 browser storage area 170 ( e.g., browser cache ).
      These and other advantages of the invention will be               The following is a brief background of the browser
   apparent to those of ordinary skill in the art by reference to storage area 170 and how a browser typically uses its
  the following detailed description and the accompanying browser storage area 170. An embodiment of the structure of
  drawings.                                                          browser storage area 170 is described in greater detail below
      FIG . 1A is a block diagram of an embodiment of a 60 with respect to FIG . 2. When a browser displays a Web page
  communication network 100 having a first server 104 com            for the first time, the browser typically downloads one or
  municating with a client device 108 over a network 112 such more files ( e.g. , images, text, style sheets , etc.) to its browser
  as the Internet. FIG . 1B is a flowchart showing the steps storage area (e.g., browser cache ). The browser then uses
  performed by the first server 104 in accordance with an these files to display the Web page. The stored files represent
   embodiment of the invention .                                  65 the “ cached copy” of the Web page , which is local to the
      The client device 108 can be any device that can access client device associated with the browser. The next time the
  another computer via network 112. Examples of a client browser visits the same Web page , the browser determines
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   what is stored in its browser storage area and displays the         client device . Server roles may change dynamically, using
   local copy ofthe files rather than downloading the same files       techniques for load balancing well known in the art .
   again . This often enables more efficient Web browsing for a          Browser Storage Area
   user of the browser. For example , if the user presses the             FIG . 2 shows an embodiment of a browser storage area
   “ Back ” button to instruct the Web browser to load the 5 200. The browser storage area 200 may include a history
   previously loaded Web page, the previously loaded Web cache 204 that contains Uniform Resource Locators (URLs)
   page typically appears almost instantly because the browser 208 recently visited by the browser (also called browser
   does not have to download all of the files associated with the   history ). The first part of the URL indicates the protocol to
   Web page again .                                                 use , and the second part specifies the IP address or the
     Referring again to FIGS. 1A and 1B , the data stored in the 10 domain
   browser storage area 170 that is representative of the net network name           ( referred to below as domain ) where the
                                                                              resource   is located . For example, the URL http : //
   work resource requests is referred to herein as a cache www.server.com/page1.html                  identifies to the browser that
   cookie 174. As described in more detail below , the cache
   cookie 174 is not an explicit browser feature but rather a the protocol is HTTP and that the requested network
   form ofpersistent state in the browser 116 that the server 104 15 resource is the HTML document having the name
   can access . Like a traditional cookie , a cache cookie 174 can page1.html and located at a server in the domain identified
   be used by the server 104 to identify ( e.g., recognize or by www.server.com . The history cache 204 contains a list of
   authenticate ) the client device 108. Unlike traditional cook       URLs to which the client device has connected over some
   ies, which can be blocked or cleared (e.g., via spyware or via prior time period . The time period is generally adjustable by
   a browser setting to block or remove cookies ), the cache 20 the user. As an example, the history cache 204 may store
   cookie 174 typically cannot be blocked or cleared via URLs visited by the browser during a period of 9 days.
   spyware or a browser setting. As a result , the cache cookie      A server can “ write” any of a wide variety of cache
   174 eliminates some of the drawbacks associated with           cookies in the history cache 204 to , for instance , facilitate
   traditional cookies described above .                          the identification of a client device (or user ). One way a
      The browser 116 and server 104 end the first network 25 server can " write” to the client's history cache 204 is by
   session (step 180 ). For example , the user closes the browser redirecting the user to other URLs (within or external to the
   116 that was displaying the requested Web page to end the           server's domain space ). For example , a server operating the
   first network session .                                             domain www.server.com can redirect a browser to a URL of
      At some later point in time, the browser 116 establishes a       the form “ www.server.com?Z ” for any desired value of Z
   second network session with the server 104 in step 185 , for 30 when the browser visits www.server.com , thereby inserting
   example by requesting the same Web page previously “ www.server.com?Z ” into the history cache 204 of the
   requested in the first network session . During the second client. In one embodiment, the redirection of the user's
   network session , the server 104 “ reads” the data (the cache       browser to another Web page (e.g., page Z ) is invisible to the
   cookie 174 ), for instance to identify the client device 108 , in   user. The server redirects the user's browser to another Web
   step 190. In one embodiment, the server 104 “ reads” the data 35 page (e.g., page Z ) for the purpose of “ writing ” that URL
    in step 190 by transmitting a sequence of messages to the (e.g. , “www.server.com?Z ” ) in the browser's history cache
   client device 108. Each message can cause the client device 204. The server may also redirect the browser to any number
   108 to make zero or more network resource requests for data ofother Web pages (with or without the user recognizing the
   to the server. The exact collection of the network resource redirection (s)). As a result, the URLs written to the history
   requests indicate the data stored at the client device ( in step 40 cache 204 by the server are an embodiment of the cache
   165 ). From this data , the server 104 can derive what infor        cookies.
   mation was encoded and stored in the client device 108 .              At some later point in time, when the user revisits
      In another embodiment, the server that indirectly “ writes ”     www.server.com , the server can “ read ” the history cache 204
   the data to the client device 108 (step 165 ) is different than of the client device to determine what Web pages the
   the server that “ reads” the data in step 190. For example , the 45 browser has recently visited . The server may recognize that
   first server 104 may “ write ” the data while a second server the browser has visited the Web pages that the browser was
   195 (shown with dashed lines ) may “ read ” the data from the previously redirected to by the server. The server can use the
   client device 108. Thus , the two network sessions may be pattern ofURLs stored in the browser's history cache 204 to ,
   created between the client device 108 and different servers e.g. , identify the client device ( or user ). Even if the browser
   (e.g., first server 104 and second server 195 ). Also , the two 50 is blocking cookies (or has deleted its cookies after its first
   servers 104 , 195 may or may not be in communication with           visit to www.server.com ), the history cache 204 still contains
   each other. Further, the first server 104 and/ or the second        the cache cookies that the server can use to identify the client
   server 195 may each include one server or a plurality of            device (or user ).
   servers. In one embodiment, the first server 104 includes a            The browser storage area 200 can also include a Tempo
   first plurality of servers and the second server 195 includes 55 rary Internet Files (TIFs) area 212 for storing TIFs 216 (e.g. ,
   a second plurality of servers, where the first plurality of TIF A , TIF B , and TIF C ). TIFs are files containing infor
   servers and the second plurality of servers have one ormore mation embedded in Web pages . For example, a Web page
   servers in common .                                               may display particular graphics ( e.g., one or more icons)
      Further, the first server may transmit a first message to the (e.g., .JPG file ) that are downloaded by a browser when the
   client device , the first message causing the client device to 60 browser requests the Web page. To speed up the display of
   initiate a first network resource request to the second server. the Web page on the browser, the browser may store these
    The first network resource request may result in the second objects responsible for the graphic (s) (e.g., icons) in one or
   server transmitting a second message to the client device, more TIFs after downloading the objects (e.g., the first time
   which may cause the client device to initiate a second that the user visits the Web page ). TIFs typically have no
   network resource request (to the second server or another 65 expiration they persist indefinitely (as long as the browser
   server). Thus , different servers may be designated to deter doesn't delete a TIF to maintain its memory cap on the
   mine different portions of an identifier associated with a amount of disk space devoted to TIFs ).
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     In order to place an object X in the TIF area 212 , a server       As described , a cache cookie may be one or more URLs
   can serve content to the browser that causes the browser to       stored in the history cache 204 or one or more TIFs stored
   download object X A server can verify whether the browser         in TIF area 212. Thus , the cache cookie can be cleared when
   contains object X in its browser storage area 200 by, for the history cache 204 or the TIF area 212 is cleared . In
   example, redirecting the browser to a URL that contains 5 another embodiment, a cache cookie consists of both TIFs
   object X If TIF X is not present in the browser storage area (stored in the TIF area 212 ) and URLs (stored in the history
   200 , then the browser requests object X from the server and cache 204 ). If a cache cookie consists of both TIFs and
   downloads object X If TIF X is present in the TIF area 212 URLs     , the cache cookie can only be erased if both of these
   of the browser storage area 200 , the browser does not 10 cleared .areas (e.g. , history cache 204 and TIF area 212 ) are
                                                                storage
   request object X from the server but instead retrieves its      A cache cookie may also be combined with a traditional
   local copy . The server can determine whether the browser cookie     , for example to provide another layer of identifica
   requests X or retrieves its local copy of X and can use this tion ( e.g., authentication ). The server can identify the client
   determination to identify the client device (or user).       device via the traditional cookie and then authenticate the
      For example, if a browser visits the Web page 15 client device with the cache cookie . To clear the combina
   www.server.com for the first time, the browser downloads       tion of a cache cookie with a traditional cookie , a user then
   one or more image files that are displayed as part of the Web has to clear orblock cookies during the same interval of time
   page . The browser stores these image files as TIFs in the that the browser storage area 200 is cleared .
   browser storage area 200. Further, the Web page ( i.e. , the      With respect to the second difference between cache
   server providing the Web page ) may redirect (e.g., without 20 cookies and traditional cookies , cache cookies may be read
   the user's knowledge) the browser to other Web pages (e.g., and written by an authorized server (in any domain ). A
    in the same domain ) and these other Web pages may cause server may be authorized when the server has access to
   the browser to download other image files. As a result , the particular information about the cache cookie (e.g. , that is
   browsermay store a variety of TIFs associated with different difficult for third parties to derive).
   Web pages . When the browser returns to www.server.com at 25 In another embodiment, a server is authorized to read and
   a later time, the server providing the www.server.com page write a cache cookie by having explicit read /write access to
   to the browser can determine what image files the browser the cache cookie . Read /write access is given by knowledge
   is requesting (e.g., from www.server.com ) and what image of the names of the URLs for history based cache cookies .
   files the browser already has in it's local browser storage Write access of TIF based cache cookies is based on
   area 200 ( i.e., TIF area 212 ). The server can use this 30 knowing the names of the TIFs. Read access is associated
   determination (i.e., ofwhich specific image files the browser with being the domain associated with the address of the
   retrieves from its local TIF area 212 ) to identify the browser. TIFs .
   As a result, the TIFs stored in the TIF area 212 of a browser       Cache cookies can be generated and deployed in a manner
   are an embodiment of cache cookies .                             that allows for load balancing between multiple servers. For
      In one embodiment, the server withholds the request for 35 example, each of the multiple servers can read one portion
    X so that the server does not change the state of the cache of the cache cookie , and the servers are not required to
   cookie whose presence is being tested by the server. In communicate with each other in order for a consistent and
   particular and in one embodiment, if the requests made correct reading of the portion of the cache cookie . As a
   during the “ read ” of data are not responded to by the server result, individual packets corresponding to the cache cookie
   104 ( i.e., the requested data is not served to the client), then 40 can be routed to different servers associated with the same
   the contents of the history cache or the TIF area remain the domain , and there may be no need for coordination between
   same and are not affected by the requests being made. the servers. In one embodiment, the servers do not know of
   Although this may trigger an HTTP “ 401" error (i.e., the each others' existence . Thus, a newly introduced server only
   response that refuses the client to get the data it requested ), needs to be known by the servers performing or directing
   manipulation of the browser storage area 200 can take place 45 routing of Internet traffic in order for them to be able to
   in a hidden window , unperceived by the user (e.g., the perform part of the task of reading the cache cookie . Once
   requests are made in a small window , such as a 0 - sized a cache cookie has been read , the identifying information
   iframe).                                                             can be incorporated in all consecutive communication
      TIF -based cache cookies can enable privacy via access between the user and server during the same session , without
   control restrictions. Browsers often reference TIFs by means 50 any need to read the cache cookie again during the session
   of URLs. When a browser requests a TIF , therefore, the in question.
   browser refers to the associated domain , not to the server            Graph Topology for Cache Cookies
   that is displaying the page containing X ( e.g ., the image ).          In one embodiment, cache cookies are constructed by
   Thus, in one embodiment, only the Web site in control of the elements associated with a graph structure . Any graph
   URL corresponding to a TIF can detect the presence of that 55 topology can be associated with a cache cookie. For
   TIF in a browser storage area while another Web site cannot. example , the graph structure can be an n * k matrix of
      Characteristics of Cache Cookies                          elements or a tree -shaped graph of elements. In one embodi
      Although cache cookies can provide an alternative to ment, the graph structure has the format of n * 2 elements , n
   traditional cookies, several differences exist between the elements and binary trees of height n .
   two . For one and as described above, cache cookies do not 60 An element of the graph structure associated with a cache
   get cleared when a user clears or blocks traditional cookies . cookie may be “ set” if the element corresponds to the
   Second , unlike traditional cookies, which can typically only presence of some information . The elementmay be “ not set"
   be accessed by a server in the specified domain , cache if the element corresponds to the absence of some informa
   cookies stored in the history cache can be accessed by a tion . Depending on the sequence of elements that are “ set”
   server in any domain . Specifically , the history-based cache 65 or “ not set” , the server can encode any arbitrary identity or
   cookies can only be read by another server if that server other information string. For a cache cookie corresponding
   knows the names of the URLs.                                      to n * 2 elements , the graph structure can be considered as
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   two n -length vectors that are referred to herein as vector     browser's history cache 204 , that these requests are made
   number 0 and vector number 1. A set position in the ith         from the same IP address if they occur during the same
   position of vector i corresponds to letting the ith position of session . As a result, the server can detect pharming by
   a binary string equal j. For a structure with n elements, determining inconsistencies in IP addresses for related com
   where n = m log 2m for some value m , the first m positions 5 munication . Specifically , if the DNS tables associated with
   of the vector can correspond to which binary digits in an a user are incorrect, then the history cache 204 may contain
   m -bit string are set to zero . Similarly , the remaining log m a URL element but not its corresponding IP address element.
   bits can encode the number of bits that are not set to zero .
    Alternatively , the vector can correspond to the binary digits Additionally, responses to requests can be sent to both types
                                                                         of addresses ( i.e., the IP address and the domain name) listed
   inm bits
       an mcan-bitencode
                  string that are set to one, and the remaining   log
                          the number of bits that are not set to one.
                                                                      10 in the DNS table. If only the IP address responses are
   As a result , cache cookies can provide error detection .               received by the server, then the DNS information available
       In another embodiment, an n * 1 matrix can be used with             to the client device is likely to be incorrect.
   no error detection . For a cache cookie corresponding to an          General Read /Write Structure of Browser Storage Area
   m - height binary tree , the identity or information to be stored 15 The browser storage area 200 can be viewed as a general
   can be encoded by setting all nodes on a given path , and read /write memory structure in the user's browser. A server
   letting the other nodes not be set. In one embodiment, the can test for the presence of any cache cookie in a list ofmany
   setting of all nodes on a given path is performed at the same cache cookies . In one embodiment, a server can mine cache
   time. Thus, more than one path may be set simultaneously . cookies in an interactive manner ( e.g., the server can refine
    This corresponds to storing multiple pieces of information 20 its search as the server searches, using, for example, pre
   with one browser using one cache cookie . The exactpath can liminary information to guide its detection of additional
   encode the information stored , where a left path may cor               cache cookies).
   respond to a zero and a right path may correspond to a 1. For             As described above, a server can indirectly “ write” cache
   trees that are k -ary (each node that is not a leaf has k cookies to the history cache 204 by redirecting a browser to
   children ), each node that is not a leaf can correspond to the 25 URLs (within its domain space or externally ). For example ,
   storage of a k -ary number, where k = 2 corresponds to the a server operating the domain www.server.com can redirect
   binary case . Similarly , in a matrix of size n * k , n k -ary digits   a browser to a URL of the form " www.server.com?Z ” for
   can be stored . In one embodiment, some of the n k -ary digits any desired value of Z , thereby inserting “ www.server
   are used for error-detection purposes.                         .com ?Z ” into the history cache 204. Thus, a server can create
      The browser's history cache can correspond to a set of 30 a cache cookie memory structure (e.g., within the history
   elements, where each element is a URL . An element is set cache 204 ) over the space of URLs of the form , e.g.,
   if the URL is present in the browser's history cache 204 , and          “ www.server.com?Z” , where ZE {0, 1} 1+1. Thus, Z is an
   not set if the URL is       present. Further, an element can be         index into the cache cookie memory structure. The space can
   set in the TIF area 212 if a particular TIF is present and not be very large ( for example, Microsoft's Internet Explorer
   set if the TIF is not present.                                 35 can support 2048-bit URL paths).
      In one embodiment, different parts of a tree-based cache           Let the predicate Pi, [r ] denote whether the URL corre
   cookie can be read by different servers . Specifically, each sponding to a given index rER is present in the browser
   server may read a part of a cookie by determining whether storage area 200 of user i. If so , P ;[r] = 1 ; otherwise P ;[r ] = 0 .
   some portion of elements are set or not set. This server may For clarity , time is not included in this notation .
   further initiate a read of another part of the cache cookie . 40 A server interacting with user i can change any P [r] from
    This read of another part of the cache cookie may be O to 1. The server can do this by planting the URL indexed
  performed by a different server . In one embodiment, the by r in the browser storage area 200. To erase cache cookies,
   server initiates a read of the parts thathave not yet been read a server can assign two predicates to a given bit b . The
  by communicating the parts that have been read to the user's predicates may be viewed as on -off switches. If neither
   browser. The next server can determine the parts that have 45 switch (predicate ) is on , the bit b has no assigned value.
  been “ read ” and use this information to determine the parts When the first switch is on and the second switch is off , b = 0 .
  of the cookie that still need to be " read ” .                     If the opposite is true, then b = 1. Finally , if both switches are
      Detection of Pharming Using Cache Cookies                      on, then b is again unassigned — it has been “ erased ” .
      In one embodiment, a server can use cache cookies to               More formally , let S = {0,1} !. A predicate Q [ s] over Scan
  detect pharming . Pharming typically seeks to obtain per- 50 be defined for any sES. This predicate can assume a bit
   sonal or private (e.g., financial) information through domain value , i.e., Qi_g[s ]€ {0,1 }; otherwise, it is " blank ” and
   spoofing . Pharming “ poisons” a domain name server. A             Q :[ s] = Q can be written ,or it is “ erased ” , and Qi [s ] = v can be
   domain name server, or DNS server, is a server that trans         written . Let || denote string concatenation . Qi can be defined
   lates domain names into IP addresses . The DNS server as follows : Let ro = P [s ||'0' ) and let r = P [ ||* 1']. If roFr 0 ,
  maintains DNS tables that have IP addresses that correspond 55 then Qi[s]= 0 ; if ro =r1 = 1, then Qi[s]= v. Otherwise, Qi[s] =b ,
  with domain names . Pharming poisons a DNS server by where r1 = 1. This definition yields a write -once structure M
   infusing false information into one or more DNS tables, with erasure for cache cookies over the set S. When Qi[s ]= 0 ,
   resulting in a user's request being redirected to an incorrect a server interacting with user i can write an arbitrary bit
  Web page . The user's browser, however, displays that the value b to Qi[s ] by setting Pi, [s||b ]= 1. The server can erase
  user is at the correct Web page, making pharming dangerous 60 a stored bit bin Q :[s ] by setting P ;[s ||1 – b ] = 1.
  and often difficult to detect .                                        Within the structure M , an m - bitmemory structure M ' can
       A URL can have the format www.server.com/path or be defined. M ' is capable of being written c times . Suppose
   192.65.1.12/path ( i.e., domain name or IP address ). Some M ' consists of a sequence of n = cm bits in M.Once the first
  URLs can have one format, while others can have another block of m bits in M ' has been written , the server re-writes
   format. If a server receives several requests for URLs, some 65 M ' by erasing this first block and writing to the second block .
  of which are of one format while others are of the other            Thus , the server can write c times to M '. To read M ', the
   format, then the server can verify , using cache cookies in the server can perform a binary search , testing the leading bit of
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   the memory blocks in M ' until the server locates the current             browser to determine which path the browser storage area
   write boundary . Thus, a read requires atmost ?log c ) queries . contains . Thus, the server performs a depth - first search of
       In one embodiment, the memory structures M and M             the identifier tree to identify the user. In one embodiment,
   permit random access and not search operations . Thus,when the search is feasible only for the original server that
    1 is sufficiently large (e.g., when cache cookies are 80 bits 5 generated the identifier tree (or for a delegate), because only
   long ) the cache cookie memory structure M can be large that server knows the secret cache cookies associated with
   enough to render brute - force search by browser sniffing nodes in the tree . Therefore , privacy for the user identifiers
   impractical. For example, suppose that a server plants a is maintained .
   secret, k -bit string x = x0X1 Xz into a random location in                For example, consider a binary tree T Let d denote the
   the history cache 204 of user i. That is, the server selects 10 depth
   SE2? -k - 1, and sets Qi[s + i] =x ; for 1sisk . It is likely infea denoteofthethelefttreechild
                                                                                              . For a given node n within the tree , let n ||*O '
   sible for a second server interacting with user i to learn root, n is a null, and                     n ||' 1' denote the right child . For the
   X — or even to detect its presence . Hidden data of this kind B = bobi ... b ; of length j, .therestring     For every distinct bitstring
                                                                                                                     is a unique corresponding
   can be used to protect the privacy of cache cookies.                     node ?? at depth     j. The leaves     of  T are the set of nodes ng
      Variant Memory Structures                                          15
      In other embodiments, more query -efficient encoding for BE {0 , 1 } "
   schemes for the cookie cache memory structures M and M '                   In one embodiment, two secret values , YB and us, are
   are used . For example , an m - bit block of data in M can be associated with each node ng. The first value , YB , is a k -bit
   defined as follows. Let {P [s ], P [s + 1 ], P [ s+ c ]} represent the secret key . The second value , ub , is a secret ( 1 -bit) address
   memory block in question . A leading predicate P;[s - 1 ] is 20 in the cache cookie memory. To store node ng in the cache
   pre-pended . The value P ;[s - 1] = 0 ' indicates that the block is cookie memory of a particular browser , the server stores the
   active_the block has not yet been erased . To encode the secret key YB in address up . The sets of secret values { (yB
   block , a server may change any predicate to a ‘ l ’. P ;[s - 1] = 1' UB )}B E {0,13“ may be selected uniformly at random or gen
    indicates that the block has been erased . In one embodiment, erated pseudo -randomly from a master secret key .
   this type of erasure does not truly efface information . The 25 The server that has generated T for its population of users
   information in an “ erased ” block remains readable . Full assigns each user to a unique, random leaf. Suppose that user
   effacement is sometimes desirable, as in the rolling pseud             i is associated with leaf ng "), where B = b , b2 %) ..bal ).
   onym scheme described below . In another embodiment, the In one embodiment, when the user visits the server, the
   value associated with a block of stored bits is represented by server determines the leaf — and thus the identity — of the
   the XOR of the bits . Thus, a block can be rewritten m times . 30 user as follows. First, the server queries the user's browser
      Using Cache Cookies to Identify Users                               to determine whether the browser ( i.e. , the browser storage
       Tree - Based Scheme                                                area ) contains n , or n ;. In particular, the server queries
       As described above, the server may use cache cookies to address u , of the browser storage area to determine whether
   identify a user. In one embodiment, the server uses a address u . contains secret key yo . The server then queries
   tree -based scheme to structure user identifiers in the cache 35 address u , of the browser storage area to determine whether
    cookie memory structure .                                             address u: contains secret key y1. The server then recurses .
       FIG . 3 is an embodiment of a tree structure 300 , referred When the server determines that node ng is present in the
   to herein as an identifier tree 300 , that the server can use to browser storage area, the server next determines whether the
   identify a user. The identifier tree 300 is a tree that has eight children of node ng ( i.e., ng||-o , or nB|| 1.) are present. This
   identifiers 302-316 , one for each leaf node . The identifier 40 continues until the server determines the full path of nodes
   tree 300 has a depth d = 3 (from root node 320 ). The high ns, 0,0,0 ,                     , 15,20           ble , and thus the leaf
    lighted path corresponds to identifier ‘ 001 ' 304. To cause corresponding to the identity of user i.
   this identifier to be stored in a user's browser, a server “ sets”        For example , the server verifies whether a first or second
   the bit value in particular addresses of the cache cookie node is stored . Based on this verification , the server then
   memory to ' 1'. When the server later performs a search of 45 checks either whether a third or fourth node is stored (if the
   the cache cookie memory in the browser storage area , the first node was stored ) or a fifth or sixth node is stored (if the
   server can determine the bits that have been set along the second node was stored ). This way, the tree can be traversed .
   highlighted path , thereby leading the server to the ‘ 001 ' leaf         In one embodiment, if the server does not know the
    304 and the user identified by the ‘001' leaf 304 .                   addresses ( e.g., names of TIFs or names of URLs in the
      For example, the server can , during a first session , “ write ” 50 history cache), then the server cannot read them . An attacker
   a first URL to node 0 324 , a second URL to node 00 328, and              with a first identifier stored in his browser only knows a part
   a third URL to node 001 304. The combination of the first                 of all addresses (e.g. , the names of TIFs or URLs) and
   URL , second URL , and third URL can identify the user.                   therefore would not likely be able to read the contents of
   During a subsequent session between the browser and the                   another browser.
   server, the server can “ read ” the browser storage area to 55 Further, the server can deploy identifier trees with any
   determine whether the first, second, and third URLs are degree. For example , consider an identifier tree with degree
   present.                                                            d = 22, where d is a multiple of z , and the number of leaves
      In another embodiment, the tree-based scheme restricts is L = 2d. The depth of such a tree, and consequently the
   cache cookie access to a site that possesses an underlying number of stored secret cache cookies , is d /z . This correlates
   resource identifier ( e.g., secret key ). The identifier tree's 60 to the number of rounds of queries required for a depth - first
   nodes (e.g., nodes 324 and 328 ) correspond to secrets in the search , assuming that each communication round contains
   cache cookie memory . These secrets are referred to herein as the 8 concurrent queries associated with the currently
   secret cache cookies .                                              explored depth . Therefore, higher-degree trees induce lower
      The server can plant in the browser of the user the set of storage requirements and round -complexity . On the other
   secret cache cookies along the path from the root to the 65 hand, higher-degree trees induce larger numbers of queries .
   distinct leaf that is associated with the user. To identify a Assuming 8 (concurrent) queries per level of the tree , the
   user, the server can interactively “ read ” , or query , the user's total number of queries is dd /z = 2 " d /z .
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      In one embodiment, trees of higher degree can be simu symmetric -key encryption of message m under key x , then
   lated in searching a binary tree . A subtree of depth z of a tree the server may compute , = e [illi]. The server can decrypt
   can be compressed anywhere within a binary tree by treating a pseudonym to obtain the user identifier i. In one embodi
   all of its 22 deepest nodes as children of the root node of the ment, the rolling pseudonyms are deployed using cache
   subtree (effectively disregarding all of its internal nodes ). 5 cookie memory based on cache cookies that expire ( like
   Depth -first search over this subtree can be replaced by a those for browser histories ).
   single round of 22 queries over the deepest child nodes.            Using Cache Cookies to Authenticate User
   Likewise , we can compress any set of z consecutive levels           As described above , cache cookies can also be used to
   within a binary tree by treating them as a single level of authenticate a user, for example , after a server uses tradi
   degree 22. Such compressed search can achieve lower round- 10 tional cookies to identify a user. Authenticating a user is the
   complexity than a binary depth - first search , at the cost of confirming of the user's identity and occurs after the user has
   more queries. For example, a binary tree of depth d = 12 can been identified . Cache cookies have privacy -enhancing
   be treated as a tree of degree 8 = 16 and d = 3. A server can strengths, such as resistance to pharming, which facilitate
   perform a depth - first search with four rounds of communi        authentication of a user.
   cation . In each round ,the server queries the sixteen possible 15 Some vendors use traditional cookies as authenticators to
    great- great grandchildren of the current node in the search . supplement user passwords . Because traditional cookies
   Compressed search within a binary tree can be quite flexible . (and other sharable objects ) are fully accessible by the
   Further, a server can adjust the degree of compression domain that set them , they are typically vulnerable to
   dynamically in accordance with observed network latency pharming. As described above, pharming occurs when a
   (e.g., high round -trip times favor high compression of tree 20 browser directed to a Web server legitimately associated
   levels , while low round -trip times may favor low compres with a particular domain instead connects to a spoofed site .
   sion ). The identifier tree may also be used to identify A pharmer can then access the traditional cookies associated
   multiple users (e.g., of a single browser ) and may help in the with the attacked domain . Thus, pharming can undermine
   management of shared browsers .                                   the use of cookies as supplementary authenticators .
      In one embodiment, the server includes a cryptographic 25 Secret cache cookies offer resistance to pharming . As
   checksum on each identifier associated with the browser     described above in the identifier-tree scheme, a secret cache
   (embedded in a secret,user-specific address in cache cookie cookie is a secret, k -bit key y ; specific to user i that is stored
   memory ). The checksum may be embedded in a browser in a secret, user-specific address u ; (in cache cookie
   specific manner. For example, the checksum can be com       memory ). In one embodiment, the server associates a series
   puted over all valid identifiers in the browser. If the server 30 of secret cache cookies to a user.
   refreshes its identifiers simultaneously, this checksum does         To authenticate a user after a user identifies herself (and ,
   not go stale as a result of a subset of identifiers dropping in one embodiment, after user authenticates herself using
   from the cache. The checksum can therefore be used                 other means ), a server can check for the presence of the
   eliminate spurious identifiers (e.g., inserted by a malicious    user-specific secret cache cookie y; (or cookies ) as an
   server ).                                                     35 authenticator. Secret cache cookies are resistant to pharming
     Rolling- Pseudonym Scheme                                      because , in order to access the key Yi, a server has to know
      Another approach to protecting user identifiers is to treat the secret address u , associated with a user.
   them as pseudonyms and change them ( e.g., periodically ).         In one embodiment, cache cookies can be rewritten by the
   The server designates a series of k -bit cache cookie memory server if they are erased by the user of the client device. For
   addresses V1, V2, ..., where y, is associated with time epoch 40 example , the server may “ write ” a first cache cookie in the
   j. The server additionally maintains for each user i and each      history cache and a second cache cookie that encodes the
   time epoch j a k - bit pseudonym t ;                               same or a different value as the first cache cookie in the TIF
      In one embodiment, whenever the server has contact with         area. The user may then erase one of the cache cookies .
   the browser of a given user, the server searches sequentially      When the client device revisits the server , the server can
   backward over p positions V;, V;-1, .. Vi-p +1 until the server 45 determine the user's identity from the cache cookie that was
   locates a pseudonym It'; in position v; and identifies the user , not erased and can subsequently rewrite the previously
   or determines that no pseudonyms are present within its erased cache cookie again . Further, the server may imple
    search window . On identifying the user, the server implants ment this technique in addition to using traditional cookies.
    the current pseudonym t; ) in address V;.                       Thus, if any of the cache cookies or traditional cookies are
       In one embodiment, the server erases the contents of 50 erased , the server can rewrite them when the client revisits
   memory addresses Vji, Vj41, ... , Vi- 1. Otherwise , memory the server.
   addresses associated with epochs in which the user has not         Computer Implementation
   communicated with the server may be blank . These blanks            The previous description describes the present invention
   may reveal information to a potential adversary about the in terms of the processing steps required to implement an
   visitation history of the user each blank indicates an epoch 55 embodiment of the invention . These stepsmay be performed
    in which the user did not contact the server.                   by an appropriately programmed server computer, the con
       Additionally, the parameter p may be large enough to figuration of which is well known in the art. An appropriate
   recognize infrequent users. In one embodiment, a server can server computer may be implemented , for example , using
   check whether a memory address has been previously well known computer processors , memory units , storage
   accessed by reading its leading bit. The server can therefore 60 devices, computer software , and other nodes. A high level
   check hundreds of epochs. If an epoch is three days, for block diagram of such a server computer is shown in FIG .
   example, then a server may be able to scan years worth of 4. Server computer 400 contains a processor 404 which
   memory addresses, and therefore the full lifetime of any controls the overall operation of computer 400 by executing
   ordinary browser (and well beyond the lifetime of certain computer program instructions which define such operation .
   cache - cookies , like those for browser history ).           65 The computer program instructions may be stored in a
       In one embodiment, the server uses a master key x to storage device 408 (e.g., magnetic disk ) and loaded into
    generate pseudonyms as ciphertexts. If ex [m ] represents a memory 412 when execution of the computer program
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   instructions is desired . Server computer 400 also includes                 perform a second identification of at least one of the
   one or more interfaces 416 for communicating with other                        client device and the user of the client device using
   devices (e.g., locally or via a network ). Server computer 400                the second cookie of the second type ; and
   also includes input/output 424 which represents devices                     perform a determination based at least in part on ( 1) a
   which allow for user interaction with the computer 400 (e.g., 5               presence of a network resource request associated
   display , keyboard , mouse , speakers , buttons , etc.).                      with one of the first cookie and the second cookie ,
      One skilled in the art will recognize that an implementa          and (2 ) an absence of a network resource request
   tion of an actual computer will contain other nodes as well,         associated with the other of the first cookie and the
   and that FIG . 4 is a high level representation of some of the        second cookie; and
   nodes of such a server computer for illustrative purposes. In 10 a memory coupled to the one or more processors and
   addition , one skilled in the art will recognize that the          configured to provide the one or more processors with
   processing steps described herein may also be implemented          instructions.
   using dedicated hardware, the circuitry of which is config       2. The system of claim 1 wherein the client device is
   ured specifically for implementing such processing steps. identified by a server in a domain different from a server that
   Alternatively , the processing steps may be implemented 15 caused
   using various combinations of hardware and software . Also ,
                                                                      the two different types of cookies to be stored to the
                                                              client device during the first and second previous network
   the processing stepsmay take place in a computer ormay be              sessions.
   part of a larger machine .                                                3. The system of claim 1 wherein the client device is
      The foregoing Detailed Description is to be understood as           identifiable based at least in part on a presence of either one
   being in every respect illustrative and exemplary, but not 20 of the first cookie and the second cookie in the respective
   restrictive, and the scope of the invention disclosed herein is first and second client device browser storage areas .
   not to be determined from the Detailed Description , but           4. The system of claim 1 wherein the determination
   rather from the claims as interpreted according to the full comprises detection of pharming .
   breadth permitted by the patent laws. It is to be understood       5. The system of claim 1 wherein in response to the
   that the embodiments shown and described herein are only 25 performed determination , the one or more processors are
   illustrative of the principles of the present invention and that       configured to cause a third cookie to be stored at the client
   various modifications may be implemented by those skilled              device , wherein the third cookie is one of the first type and
   in the art without departing from the scope and spirit of the          the second type.
   invention . Those skilled in the art could implement various   6. A method , comprising :
   other feature combinations without departing from the scope 30 receiving a network resource request from a client device ,
   and spirit of the invention .                                              wherein the network resource request corresponds to a
      The invention claimed is :                                              first cookie of a first type that was caused to be stored
     1. A system , comprising :                                               to the client device during a first previous network
     one or more processors configured to :                                   session , wherein the first cookie of the first type was
        receive a network resource request from a client device , 35          caused to be stored to the client device at least in part
          wherein the network resource request corresponds to                 by causing the client device to initiate a set of network
          a first cookie of a first type that was caused to be                resource requests determined during the first previous
          stored to the client device during a first previous                 network session , wherein the client device initiating the
          network session , wherein the first cookie of the first              set ofnetwork resource requests caused data represen
          type was caused to be stored to the client device at 40              tative of the set of network resource requests to be
          least in part by causing the client device to initiate a             stored at the client device , wherein a second cookie of
          set of network resource requests determined during                   a second type different from the first type was caused
          the first previous network session , wherein the client              to be stored at the client device during a second
          device initiating the set of network resource requests               previous network session , and wherein the first cookie
          caused data representative of the set of network 45                  of the first type is stored in a first client device browser
          resource requests to be stored at the client device ,                storage area and the second cookie of the second type
          wherein a second cookie of a second type different                   is stored in a second client device browser storage area
           from the first type was caused to be stored at the                  different from the first client device browser storage
          client device during a second previous network ses            area ;
          sion , and wherein the first cookie of the first type is 50 based at least in part on the network resource request from
          stored in a first client device browser storage area           the client device corresponding to the first cookie of the
          and the second cookie of the second type is stored in          first type caused to be stored at the client device during
           a second client device browser storage area different               the first previous network session , determining infor
           from the first client device browser storage area ;                mation that was encoded and stored in the client device ;
        based at least in part on the network resource request 55             and
           from the client device corresponding to the first                performing a first identification of at least one of the client
           cookie of the first type caused to be stored at the                 device and a user of the client device using the first
           client device during the first previous network ses                 cookie of the first type, wherein the first identification
           sion, determine information that was encoded and                   is performed using the first cookie of the first type at
           stored in the client device ;                             60        least in part by using the determined information that
        perform a first identification of at least one of the client          was encoded and stored in the client device ; and
           device and a user of the client device using the first           performing a second identification of at least one of the
           cookie of the first type , wherein the first identifica            client device and the user of the client device using the
           tion is performed using the first cookie of the first              second cookie of the second type ; and
           type at least in part by using the determined infor- 65          performing a determination based at least in part on (1 ) a
          mation that was encoded and stored in the client                     presence of a network resource request associated with
          device ;                                                             one of the first cookie and the second cookie , and ( 2 )
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                                17                                       18
        an absence of a network resource request associated
        with the other of the first cookie and the second cookie .
     7. The method of claim 6 wherein the client device is
   identified by a server in a domain different from a server that
   caused the two different types of cookies to be stored to the 5
   client device during the first and second previous network
   sessions.
     8. The method of claim 6 wherein the client device is
   identifiable based at least in part on a presence of either one
   of the first cookie and the second cookie in the respective 10
   first and second client device browser storage areas .
     9. The method of claim 6 wherein the determination
   comprises detection of pharming .
      10. The method of claim 6 wherein in response to the
   performed determination , further comprising causing a third 15
   cookie to be stored at the client device , wherein the third
   cookie is one of the first type and the second type .
